Case 1:23-cr-00016-JHR   Document 177-12   Filed 11/12/24   Page 1 of 6




    EXHIBIT 12
Case 1:23-cr-00016-JHR   Document 177-12   Filed 11/12/24   Page 2 of 6




                                                                          USAO_00021302
Case 1:23-cr-00016-JHR   Document 177-12   Filed 11/12/24   Page 3 of 6




                                                                          USAO_00021303
Case 1:23-cr-00016-JHR   Document 177-12   Filed 11/12/24   Page 4 of 6




                                                                          USAO_00021304
Case 1:23-cr-00016-JHR   Document 177-12   Filed 11/12/24   Page 5 of 6




                                                                          USAO_00021305
Case 1:23-cr-00016-JHR   Document 177-12   Filed 11/12/24   Page 6 of 6




                                                                          USAO_00021306
